                               So Ordered.

         Dated: December 13th, 2018
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                               UNITED STATES BANKRUPTCY COURT
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                     IN AND FOR THE EASTERN DISTRICT OF WASHINGTON
11

12   In re:                                              No.: 16-03729-FPC7

13   DEAN JOSEPH BELLAMY,                                Chapter 7

14                   Debtor.                             ORDER GRANTING MOTION TO
                                                           APPROVE SETTLEMENT
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               THIS MATTER having come before the Court upon the Chapter 7 Trustee’s
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     Motion to Approve Settlement (the “Motion”), the Motion having been supported by the
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     Declaration of Kevin D. O’Rourke in Support of Motion to Approve Settlement, the
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     Motion being without opposition, it appearing that proper notice has been served to all
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21   creditors and parties in interest, the Court being fully informed and advised, the Court

22   finding that the Settlement is reasonable under the circumstances, is in the best interest

23   of the Estate and its creditors, and is fair and equitable, and good cause otherwise
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     appearing for the entry of the Order;
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     Order-1                                                SOUTHWELL & O'ROURKE, P.S.
                                                               A PROFESSIONAL SERVICE CORPORATION
                                                                    ATTORNEYS AT LAW
                                                                SUITE 960, PAULSEN CENTER
                                                               WEST 421 RIVERSIDE AVENUE
                                                               SPOKANE, WASHINGTON 99201
                                                                 TELEPHONE (509) 624-0159




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               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Motion is
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 2
     Granted.

 3             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the settlement

 4   solely of the Bankruptcy Estate’s Fraudulent Transfer Claim, pursuant to 11 U.S.C.
 5   §548 and R.C.W. §19.40 et. seq., arising from the Debtor’s pre-petition transfer without
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     consideration of a 2009 Canam Outlander 800 ATV to Albert Bellamy in exchange for
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     Albert Bellamy’s payment to the Chapter 7 Trustee the sum of Three Thousand Dollars
 8
     ($3,000.00), is hereby Approved.
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                                      ///END OF ORDER///
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     PRESENTED BY:
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     SOUTHWELL & O’ROURKE, P.S.
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14   BY: /s/ Kevin O’Rourke
        KEVIN O’ROURKE, WSBA #28912
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        Attorney for the Chapter 7 Trustee
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     Order-2                                              SOUTHWELL & O'ROURKE, P.S.
                                                             A PROFESSIONAL SERVICE CORPORATION
                                                                  ATTORNEYS AT LAW
                                                              SUITE 960, PAULSEN CENTER
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